Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.17 Filed 09/30/20 Page 1 of 10




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JAQUETTA ANN COOPWOOD,

      Plaintiff,
                                       Case No. 2:20-cv-12092-AJT-DRG
                                       Hon. Arthur J. Tarnow

vs.

COUNTY OF WAYNE,
SGT. WATT,

      Defendants.
____________________________________________________________________________________
KEVIN A. LANDAU (P65601)                  MARGARET M.FLANAGAN(P52352)
The Landau Group, PC                      Assistant Corporation Counsel
Counsel for Plaintiff Coopwood            JAMES W. HEATH
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                                          mflanaga@waynecounty.com




MOTION TO DISMISS THE COMPLAINT FOR PLAINTIFF’S FAILURE
  TO COMPLY WITH THE PRISON LITIGATION REFORM ACT

      Pursuant to 42 U.S.C. § 1997e, Defendant Wayne County (“Defendant”)

moves to dismiss without prejudice the Complaint filed by Plaintiff Jaquetta
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.18 Filed 09/30/20 Page 2 of 10




Coopwood (“Plaintiff”) because of her failure to comply with the federal Prison

Litigation Reform Act before filing suit. In support of this motion, Defendant

Wayne County relies upon the attached Brief. Pursuant to E.D. Mich. L.R. 7.1(a),

on September 30, 2020, counsel for Defendants contacted via email counsel for

Plaintiff, explained the nature of the request and its legal basis, but counsel for

Plaintiff did not concur in the relief requested.

Dated: September 30, 2020               Respectfully submitted,

                                        By: /s/Margaret M. Flanagan
                                        James W. Heath (P65419)
                                        Wayne County Corporation Counsel
                                        Margaret M. Flanagan (P52352)
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Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.19 Filed 09/30/20 Page 3 of 10




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JAQUETTA ANN COOPWOOD,

      Plaintiff,
                                       Case No. 2:20-cv-12092-AJT-DRG
                                       Hon. Arthur J. Tarnow

vs.

COUNTY OF WAYNE,
SGT. WATT,

      Defendants.
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Counsel for Plaintiff Coopwood            Assistant Corporation Counsel
38500 Woodward Ave., Ste 310              JAMES W. HEATH
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      BRIEF IN SUPPORT MOTION TO DISMISS THE COMPLAINT
           FOR PLAINTIFF’S FAILURE TO COMPLY WITH
               THE PRISON LITIGATION REFORM ACT




                                          i
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.20 Filed 09/30/20 Page 4 of 10




             CONCISE STATEMENT OF ISSUES PRESENTED



      Did Plaintiff properly exhaust her administrative remedies with the Wayne

County Jail pursuant to the Prison Litigation Reform Act, 42 U.S.C. § 1997e,

before filing the present lawsuit?



      Defendant answers: No

      Plaintiff presumably would answer: yes




                                       ii
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.21 Filed 09/30/20 Page 5 of 10




         CONTROLLING OR MOST APPLICABLE AUTHORITY



Freeman v. Francis, 196 F.3d 641 (6th Cir. 1999).

Jones v. Bock, 549 U.S. 199 (2007).

Napier v. Laurel County, 636 F.3d 218 (6th Cir. 2011).

Porter v. Nussle, 534 U.S. 516 (2002).

Woodford v. Ngo, 548 U.S. 81 (2006).

42 U.S.C. § 1997(e).




                                         iii
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.22 Filed 09/30/20 Page 6 of 10




                               INTRODUCTION

      The present case brought by Plaintiff Jaquetta Coopwood (“Plaintiff”)

against Defendant Wayne County (“Defendant”), and a yet-to-be served Wayne

County Sgt. Watt. (D.E. #1). Her allegations are that on August 17, 2017, while

she was pregnant and housed at the Wayne County Jail Division 1, awaiting trial, a

Wayne County Sgt. Watt kicked her in her stomach, dragged her to her cell, and

this force allegedly caused inmate Coopwood to sometime later miscarry the fetus.

(D.E. #1).   There are no incident reports evidencing this incident, nor any

grievance filed by Plaintiff Coopwood alleging mistreatment by Sgt. Watt or any

other Wayne County Jail employee.

      As explained below, because Plaintiff was incarcerated when she filed this

lawsuit, the Prison Litigation Reform Act (the “PLRA”) required her to exhaust

fully her administrative remedies with the Wayne County Jail before filing a

federal civil rights lawsuit under 42 U.S.C. § 1983. Plaintiff did not fully exhaust

her administrative remedies and remains in custody at the Huron Valley Women’s

Correctional Facility at time of the filing of this motion. (Ex. 4-Offender

Tracking System “OTIS” printout).




                                         1
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.23 Filed 09/30/20 Page 7 of 10




                                   ARGUMENT

PLAINTIFF’S COMPLAINT MUST BE DISMISSED WITHOUT
PREJUDICE UNDER THE PRISONER LITIGATION REFORM ACT, AS
SHE FAILED TO EXHAUST HER ADMINISTRATIVE REMEDIES WITH
THE WAYNE COUNTY JAIL

      Under the PLRA, prisoners are required to exhaust their internal

administrative remedies with a facility before filing a civil rights lawsuit in federal

court under 42 U.S.C. § 1983. 42 U.S.C. § 1997(e); see Porter v. Nussle, 534 U.S.

516, 532 (2002). This includes meeting all deadlines and applicable procedural

rules. Woodford v. Ngo, 548 U.S. 81, 90-91 (2006). “There is no question that

exhaustion is mandatory under the PLRA and that unexhausted claims cannot be

brought in court.” Jones v. Bock, 549 U.S. 199, 212 (2007) (citation omitted).

This requirement includes pursuing all required internal appeals of any unfavorable

resolutions. See, e.g., Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999). “A

plaintiff’s failure to exhaust cannot be excused by his ignorance of the law or the

grievance policy.” Napier v. Laurel County, 636 F.3d 218, 221 n. 2 (6th Cir.

2011); Barassi v. Lewis, No. 18-6255, 2019 U.S. App. LEXIS 18297, *3-4 (6th

Cir. June 18, 2019) (unpublished) (same).

A.    The Applicable Wayne County Jail Grievance Policy. (Ex. 1)

      At all relevant times, the Wayne County Jail has maintained official policies

regarding the provision, processing, and investigation of inmate grievances.

(Exhibit 1, Director Crawford Decl.). At the time of intake, all inmates are
                                          2
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.24 Filed 09/30/20 Page 8 of 10




provided a copy of the “Inmate Handbook” which describes the mandatory

grievance process. (Id.; Ex 3-A-Inmate Handbook Excerpt). In sum, an inmate

must file a grievance on any unsatisfactory condition of confinement within ten

(10) days of the incident complained of. (Id.). To exhaust a claim fully, if

unsatisfied with the response and/or resolution to the issue, the inmate must appeal

the decision.(Id.). Copies of the Inmate Handbook were distributed upon Plaintiffs’

entry into the Wayne County Jail and she acknowledged receipt of same.

B.    Jaquetta Coopwood Did Not Exhaust Her Administrative Remedies.

      On August 16, 2017, Jaquetta Coopwood was held in the Wayne County Jail

pending a bench trial on the charges of Homicide – Murder-Second Degree. (Ex.2-

Criminal Docket Case No: 17-010699-01-FCC). She was committed to the

custody of the Wayne County Jail pending trial. (Ex. 5-Booking Card).

      On September 17, 2018, she was found guilty by a Bench Trial of violation

of Mich. Comp. Laws 750.317. (Id.). She was sentenced to prison on October 5,

2018, and transferred to the custody of the Michigan Department of Corrections on

October 10, 2018, where she is currently being held in the Huron Valley

Correctional Facility. (Id.; Ex. 4, Offender Tracking Information Status

Report).

      Plaintiff Coopwood filed no grievances while in the Wayne County Jail in

2017 or 2018. (See Ex. 1, Director Crawford Declaration). She is currently still


                                         3
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.25 Filed 09/30/20 Page 9 of 10




incarcerated with the Michigan Department of Corrections. Therefore, her failure

to file a grievance with the Wayne County jail is governed solely by the PLRA and

this action must be dismissed without prejudice for failing to follow the

administrative remedies available to her at the Wayne County jail.

      Furthermore, no unfairness results to Coopwood in applying such a rule,

because once she is released, she is permitted to file a lawsuit for money damages

on any subject free and clear of any prior PLRA constraints. See Cox v. Mayer, 332

F.3d 422, 424-27 (6th Cir. 2003). However, when a prisoner fails to comply with

the PLRA while incarcerated, then later is released during the pendency of the

lawsuit, the proper course is to dismiss the prior case without prejudice to permit

the individual to re-file the lawsuit if he or she wishes. See id.; Surgenor v. Moore,

No. 16-1179, 2019 U.S. Dist. LEXIS 20998, *6 (S.D. Ohio Feb. 8, 2019)

(unpublished).

      Therefore, because Plaintiff Coopwood did not file a grievance or exhaust

her claims involving the treatment by Sgt. Watt, and because she remains

incarcerated, her claims should be dismissed without prejudice under the PLRA.




                                          4
Case 2:20-cv-12092-VAR-DRG ECF No. 5, PageID.26 Filed 09/30/20 Page 10 of 10




                                 CONCLUSION

      For the foregoing reasons, because Plaintiff failed to comply with the

mandatory provisions of the PLRA, Defendant Wayne County respectfully

requests that the Court dismiss their Complaint without prejudice.

Dated: September 30, 2020                    Respectfully submitted,

                                             By: /s/Margaret M. Flanagan
                                             James W. Heath (P65419)
                                             Wayne County Corporation Counsel
                                             Margaret M. Flanagan (P52352)
                                             Assistant Corporation Counsel
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                                             Detroit MI 48226
                                             (313) 224-5030
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                                             Attorney for Wayne County



                         CERTIFICATE OF SERVICE

      I hereby certify that on September 30, 2020, I electronically filed the

MOTION TO DISMISS THE COMPLAINT FOR PLAINTIFF’S FAILURE TO

COMPLY WITH THE PRISON LITIGATION REFORM ACT with the Clerk of the

Court using the CM/ECF system which will send copies to all registered

participants.

                                             /s/ Susan Sweetman




                                         5
